 Case 1:18-cv-00337-JTN-ESC ECF No. 47 filed 10/04/18 PageID.298 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 MIMI’S SWEET SHOP, INC.,

        Plaintiff,
                                                                  Case No. 1:18-cv-337
 v.
                                                                  HON. JANET T. NEFF
 CHARTER TOWNSHIP OF LANSING
 DOWNTOWN DEVELOPMENT
 AUTHORITY, et al.,

        Defendants.
 ____________________________/


                                           ORDER

       Defendants filed Pre-Motion Conference Requests concerning their anticipated motions to

dismiss (ECF Nos. 43, 44, 46), and no Responses to the Pre-Motion Conference Requests have

been timely filed. Therefore,

       IT IS HEREBY ORDERED that Plaintiff shall file a Response to each Pre-Motion

Conference Request no later than October 11, 2018. Counsel shall adhere to the requirements set

forth in Judge Neff’s Information and Guidelines for Civil Practice, which are available on the

Court’s website (www.miwd.uscourts.gov).



Dated: October 4, 2018                                     /s/ Janet T. Neff
                                                          JANET T. NEFF
                                                          United States District Judge
